                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )         MATTICE/STEGER
                                              )
        v.                                    )         CASE NO. 1:15-CR-12
                                              )
 JAMES BRANDON JORDAN                         )


                                            ORDER

        On September 22, 2015, Magistrate Judge Christopher H. Steger filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Count Two of

 the Superseding Indictment in exchange for the undertakings made by the government in the

 written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count

 Two of the Superseding Indictment; (c) that a decision on whether to accept the plea agreement be

 deferred until sentencing; and (d) Defendant shall remain in custody pending sentencing in this

 matter (Doc. 202). Neither party filed an objection within the given fourteen days. After

 reviewing the record, the Court agrees with the magistrate judge=s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s report and

 recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to Count Two of the Superseding Indictment, in exchange for

 the undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count Two of the

 Superseding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and




Case 1:15-cr-00012-TRM-CHS           Document 243        Filed 10/13/15      Page 1 of 2     PageID
                                           #: 931
       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 February 29, 2016, at 2:00 pm.

       SO ORDERED.

       ENTER:



                                                       /s/ Harry S. Mattice, Jr._______
                                                      HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




                                          2


Case 1:15-cr-00012-TRM-CHS        Document 243     Filed 10/13/15    Page 2 of 2    PageID
                                        #: 932
